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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT,                 §
                                             §
L.P.,
                                             §
                                             §     Civil Action No. 3:21-CV-0881-X
        Plaintiff,
                                             §
                                             §     Consolidated with:
v.
                                             §                    3:21-CV-0880-X
                                             §                    3:21-CV-1010-X
NEXPOINT ASSET MANAGEMENT,
                                             §                    3:21-CV-1378-X
L.P., (F/K/A HIGHLAND CAPITAL
                                             §                    3:21-CV-1379-X
MANAGEMENT FUND ADVISORS,
                                             §                    3:21-CV-3160-X
L.P.), et al.,
                                             §                    3:21-CV-3162-X
                                             §                    3:21-CV-3179-X
       Defendants.
                                             §                    3:21-CV-3207-X
                                             §                    3:22-CV-0789-X

          ORDER ADOPTING REPORT AND RECOMMENDATION
                     AND FINAL JUDGMENT

      Before the Court is the Bankruptcy Court’s Report and Recommendation on

Plaintiff Highland Capital Management, L.P.’s (“Highland”) motion for summary

judgment. [Doc. 71]. Having carefully considered (1) Highland’s motion and all

arguments and evidence admitted into the record in support of the motion, (2) all

responses and objections to the motion and all arguments and evidence admitted into

the record in support of such responses and objections, and (3) the arguments

presented by counsel during the hearing held on July 27, 2022, on the motion, and

for the reasons set forth in the Report and Recommendation (the “R&R”) filed by the

Bankruptcy Court on October 12, 2022, and the Supplement to the R&R filed January

17, 2023, the Court ACCEPTS the report and recommendation.              The Court




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OVERRULES the objections to the report and recommendation and OVERRULES

the objection to the supplement to the report and recommendation. [Docs. 78, 98].

      In accordance with the report and recommendation, the Court GRANTS

summary judgment for Highland and ENTERS FINAL JUDGMENT as follows.

      IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from NexPoint Asset Management, L.P. (f/k/a Highland Capital

Management Fund Advisors, L.P.) (“NexPoint”):

      1. NexPoint will owe Highland $2,169,270.76 in accrued but unpaid principal

and interest due under the 2014 Note1 (issued on February 26, 2014) as of October

31, 2022, after application of all payments to outstanding principal and interest. As

of October 31, 2022, interest will continue to accrue on the 2014 Note at the rate of

$115.54 per day and will increase to $117.82 per day on February 26, 2023.

      2. NexPoint will owe Highland $1,012,449.18 in accrued but unpaid principal

and interest due under the 2016 Note (issued on February 26, 2016) as of October 31,

2022, after application of all payments to outstanding principal and interest. As of

October 31, 2022, interest will continue to accrue on the 2016 Note at the rate of

$71.41 per day and will increase to $73.28 per day on February 26, 2023.

      3. In addition to the forgoing, and pursuant to the terms of each applicable

Note, NexPoint shall pay to Highland the amount of $387,007.90, which is the total

actual expenses of collection, including attorneys’ fees and costs, incurred by

Highland.



      1   Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.



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      4. The amounts set forth to be paid in this Final Judgment shall bear interest,

pursuant to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a

rate of 5.35%. Interest shall be computed daily to the date of payment, except as

provided in 28 U.S.C. § 2516(b) and 31 U.S.C. § 1304(b), and shall be compounded

annually.

      IT IS SO ORDERED, this 6th day of July, 2023.



                                             ____________________________________
                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE




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